               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:22-cv-00222-MR-WCM

ZACHARY HEBB,                    )
                                 )
                 Plaintiff,      )
                                 )
      vs.                        )                         ORDER
                                 )
CITY OF ASHEVILLE, NORTH         )
CAROLINA, and BEN WOODY,         )
individually and in his official )
capacity,                        )
                                 )
                 Defendants.     )
_______________________________ )

       THIS MATTER is before the Court on the Plaintiff’s Motion for Attorney

Fees and Non-Taxable Expenses [Doc. 30].

I.     PROCEDURAL BACKGROUND

       The Plaintiff Zachary Hebb (“Plaintiff”) commenced this action pursuant

to 42 U.S.C. § 1983 by filing his Verified Complaint against the City of

Asheville and Ben Woody (collectively, “Defendants”), on October 20, 2022.1

[Doc. 1]. The Plaintiff alleged in his Complaint that the version of Asheville

Ordinance § 10-85(2) that was then in existence violated his free speech and



1 The Plaintiff initially sued Woody both individually and in his official capacity as
Asheville’s Director of Development Services. [See Doc. 1]. The Plaintiff subsequently
dismissed his individual capacity claims against Woody. [See Docs. 11, 14].


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due process rights under the United States Constitution. [Id. at 31]. On

October 24, 2022, the Plaintiff moved for entry of a preliminary injunction and

on November 15, 2022, the Defendants filed a motion to dismiss. [Docs. 3,

9].    After these motions were briefed, this Court entered an Order on

February 8, 2023, enjoining the Defendants from enforcing the original

version of the amplification ban ordinance and denying their motion to

dismiss. [Doc. 14].

        On August 22, 2023, the City amended the original amplification ban

and other portions of its noise ordinance. [See Doc. 21 at 2 ¶ 4]. The

Defendants then filed another Motion to Dismiss on October 13, 2023. [Id.

at 3]. On November 15, 2023, the Plaintiff filed a Motion for Summary

Judgment seeking to permanently enjoin the Defendants from enforcing the

amended version of the ordinance and to recover nominal damages. [Doc.

25]. On March 25, 2024, this Court entered an order granting the Plaintiff’s

Motion for Summary Judgment, awarding the Plaintiff nominal damages in

the amount of one dollar, and permanently enjoining the Defendants from

enforcing the amended ordinance. [Doc. 28].

        The Plaintiff subsequently filed the present Motion for Attorney Fees

pursuant to 42 U.S.C. § 1988. [Doc. 30]. The Plaintiff seeks $138,997.50 in

attorney fees and $5,947.28 in non-taxable expenses. [Doc. 31].



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         The Defendants filed a Response in Opposition to the Plaintiff’s

Motion.2 [Doc. 34]. The Defendants do not contest that Plaintiff Hebb is the

prevailing party in this matter and is entitled to an award of fees but ask the

Court to reduce the requested award. [Doc. 34]. The Plaintiff did not file a

reply.

         Having been fully briefed, this matter is ripe for disposition.

II.      DISCUSSION

         Title 42 of the United States Code, Section 1988 provides that “[i]n any

action or proceeding to enforce a provision of [42 U.S.C. § 1983], the court,

in its discretion, may allow the prevailing party . . . a reasonable attorney’s

fee as part of the costs . . . .” 42 U.S.C. § 1988(b). A plaintiff constitutes a

“prevailing party” if he “succeed[s] on any significant issue in litigation which

achieves some of the benefit [he] sought in bringing suit.”                  Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983). It is undisputed that Plaintiff Hebb is a


 2 On the same day, the Defendants appealed the Orders denying their Motions to

 Dismiss and granting the Plaintiff preliminary and permanent injunctions. [Docs. 33,
 36]. That appeal remains pending. The Defendants did not file a motion to stay
 consideration of the Plaintiff’s request for fees pending appeal; rather, they only raise
 the issue in their response brief. Motions, however, are not to be included in responsive
 briefs. See LCvR 7.1(c)(2). In the exercise of its discretion, the Court will proceed to
 address the merits of the Plaintiff’s fee petition, notwithstanding the pending appeal.
 See Fed. R. Civ. P. 54(d)(2), advisory committee’s note to 1993 amendment (“If an
 appeal on the merits of the case is taken, the court may rule on the claim for fees, may
 defer its ruling on the motion, or may deny the motion without prejudice.”); see also
 Tancredi v. Metro. Life Ins. Co., 378 F.3d 220, 225 (2d Cir. 2004) (holding that
 “notwithstanding a pending appeal, a district court retains residual jurisdiction over
 collateral matters, including claims for attorneys’ fees”).


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“prevailing party” and thus entitled to an award of attorneys’ fees under §

1988.

        “The starting point for establishing the proper amount of an award is

the number of hours reasonably expended, multiplied by a reasonable hourly

rate.” Rum Creek Coal Sales, Inc. v. Caperton, 31 F.3d 169, 174 (4th Cir.

1994). The burden is on the fee applicant to justify the reasonableness of

the requested fee. See Blum v. Stenson, 465 U.S. 886, 897 (1984).

        In exercising its discretion in the application of this lodestar method,

the Court is guided by the following factors:

             (1) the time and labor expended; (2) the novelty and
             difficulty of the questions raised; (3) the skill required
             to properly perform the legal services rendered;
             (4) the attorney’s opportunity costs in pressing the
             instant litigation; (5) the customary fee for like work;
             (6) the attorney’s expectations at the outset of the
             litigation; (7) the time limitations imposed by the client
             or circumstances; (8) the amount in controversy and
             the results obtained; (9) the experience, reputation
             and ability of the attorney; (10) the undesirability of
             the case within the legal community in which the suit
             arose; (11) the nature and length of the professional
             relationship between attorney and client; and
             (12) attorneys’ fees awards in similar cases.

Grissom v. The Mills Corp., 549 F.3d 313, 321 (4th Cir. 2008) (quoting Spell

v. McDaniel, 824 F.2d 1380, 1402 n.8 (4th Cir. 1987)). “Although the Court

considers all of the factors, they need not be strictly applied in every case

inasmuch as all of the factors are not always applicable.”                Firehouse

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Restaurant Group, Inc. v. Scurmont LLC, No. 4:09-cv-00618-RBH, 2011 WL

4943889, at *12 (D.S.C. Oct. 17, 2011) (citing EEOC v. Service News Co.,

898 F.2d 958, 965 (4th Cir. 1990)).

      A.     Time and Labor Expended

      The Court begins its lodestar analysis with considering the time and

labor expended by the Plaintiff’s attorneys. “In determining the appropriate

number of hours to be included in a lodestar calculation, the district court

should exclude hours ‘that are excessive, redundant, or otherwise

unnecessary.’” Doe v. Kidd, 656 F. App’x 643, 656 (4th Cir. 2016) (quoting

in part Hensley, 461 U.S. at 434).

      The Plaintiff Hebb was represented by two attorneys in this action:

Nathan W. Kellum of Memphis, Tennessee, and B. Tyler Brooks of

Greensboro, North Carolina.3 Mr. Kellum recorded 358.6 hours in work

expended in the prosecution of this action. [Doc. 30-1 at ¶ 75]. After

reviewing his billing statement, however, Mr. Kellum reduced his billing by

43.9 hours (to a total of 314.7 hours) to account for some activities that

“would not be suitable to bill a paying client,” such as excessive time spent

preparing the Complaint, a portion of his travel time, time spent on clerical



3 During the pendency of this action, Mr. Brooks relocated to Chicago, Illinois; however,

he remains as local counsel in this action.


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work, time spent on claims that were ultimately dismissed, and time spent

preparing the motion for fees. [Id. at ¶¶ 68-74]. Mr. Kellum contends that he

should be compensated at a rate of $425.00 per hour; therefore, Mr. Kellum

seeks $133,747.50 as a reasonable attorney fee in this action. [See Doc. 31

at 3].

         Attorney B. Tyler Brooks recorded 15 hours in work expended on the

prosecution of this action. [Doc. 30-3 at ¶ 16]. Mr. Brooks contends that he

should be compensated at a rate of $350.00 per hour; therefore, Mr. Brooks

seeks $5,250.00 as a reasonable attorney fee in this action. [See Doc. 31

at 3].

         The Defendants argue that the number of hours spent on pre-filing

matters is excessive, especially considering the eventual dismissal of the

individual capacity claims against Defendant Woody. [Doc. 34 at 2].

         The Court has reviewed the time statements prepared by Plaintiff’s

counsel. [Docs. 30-2, 30-4]. Even after Mr. Kellum’s reduction of hours in

exercise of billing judgment, the time spent preparing the Complaint

accounts for 37.3 hours, which does not include an additional 31.5 hours

billed for pre-filing investigation and research. [Doc. 30-2 at 2-6]. The Court

finds the combination of these hours to be excessive, and will, in its

discretion, reduce Mr. Kellum’s time by an additional fifteen (15) hours.



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        An additional 11.5 hours is billed for time spent reviewing local rules,

complying with local rules, and emailing or reviewing emails from local

counsel. [Id. at 7-23]. The Court finds this quantity of hours to be excessive

and duplicative, as knowledge of and compliance with local rules is the

precise role of local counsel. In its discretion, the Court will further reduce

the total time billed by seven (7) hours, six (6) of which will be deducted from

Mr. Kellum’s time, and one (1) of which will be deducted from Mr. Brooks’

time.

        The Court also notes that nearly thirty (30) hours were billed by Mr.

Kellum for the preparation of the present Motion and its accompanying

exhibits. [Id. at 21-23]. “Although it is well settled that the time spent

[establishing] entitlement to attorney's fees is properly compensable under §

1988, it is nevertheless within the district court's discretion to determine

exactly what amount would compensate the party sufficiently for the time

spent on the fees phase of a lawsuit.” Trimper v. City of Norfolk, Va., 58 F.3d

68, 77 (4th Cir. 1995) (citing Daly v. Hill, 790 F.2d 1071, 1080 (4th Cir.1986))

(internal citation omitted). The Court finds that the time Mr. Kellum spent on

the fee petition was excessive. Therefore, the Court in its discretion deducts

twenty (20) hours from the time spent on preparing the fee petition.




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       Additionally, Mr. Kellum billed one-tenth of an hour, or 6 minutes, 184

distinct times (for a total of 18.4 hours). Many of these were listed as simply

reviewing emails or notices. [Id. at 1-23]. Many, if not most, of these tasks

would ordinarily be accomplished in far less than the six minutes reported.

As such, the total amount claim for these rudimentary tasks must be reduced.

       Other billing descriptions are confusing or too vague for this Court to

evaluate. For example, Attorney Kellum bills 0.2 hours for “Email T. Brooks

re: identity of judge,” and then 0.3 hours for “Review judicial preferences.”

[Doc. 30-2 at 7]. However, a few days later, he bills 0.1 hours for “Review

notice of judicial assignment.” [Id. at 8]. Another entry for 1.2 hours simply

says, “Analyze file for litigation.” [Id. at 1]. Yet another entry for 1.2 hours

says, “Evaluate for MSJ.” [Id. at 17]. Because these and several other

entries are not specific enough for this Court to give merit, and because of

the abundance of 0.1 hour entries, the Court will further reduce Mr. Kellum’s

time by eighteen (18) hours.4

       In sum, given the excessive and duplicative hours billed for

investigation, research, and preparation of the Complaint, compliance with

local rules and communication with local counsel, the work spent on the


4 The Court notes the same issues with numerous 0.1 hour entries and vague entries do

not plague the billing statement from Mr. Brooks, and therefore, these hours will be solely
deducted from Mr. Kellum’s time.


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preparation of the present Motion, as well as the notable number of very

short or vague billing entries, the Court finds that the Plaintiff’s accounting of

hours includes time that was “redundant, excessive, or otherwise

unnecessary.” The Court will therefore, in its discretion, reduce Mr. Kellum’s

time by a total of fifty-nine (59) hours to a total of 255.7 hours and will reduce

Mr. Brooks’ time by one (1) hour to fourteen (14) hours.

      B.    Novelty and Difficulty of the Questions Raised

      As for the novelty and difficulty of the questions raised, the Court notes

that this case presented several complex issues in an already complicated

area of constitutional law, including: the legal standards for free speech

claims; the law of buffer zones; the competing interests of local regulation

and constitutional rights; noise ordinances; statutory interpretation; and

mootness. The litigation involved a preliminary injunction, two motions to

dismiss, and a disputed motion for summary judgment. The novelty and

difficulty of the issues in this case, while not extreme, weigh in favor of a

substantial fee.

      C.    Skill Required to Properly Perform the Legal Services

      This case required a considerable degree of skill and familiarity with

civil rights law and practice. As already noted, there were multiple factual




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and legal issues involved, and the Defendants defended each issue at each

stage in litigation. This factor, therefore, weighs in favor of a substantial fee.

      D.    Opportunity Costs of Litigation

      Under the relevant factors, an “attorneys’ opportunity costs include the

higher rates they would have otherwise charged in other cases and projects.”

Irwin Indus. Tool Co. v. Worthington Cylinders Wis., LLC, 747 F. Supp. 2d

568, 596 (W.D.N.C. 2010). Here, Plaintiff Hebb’s counsel spent a significant

amount of time working on his case. Both attorneys in this case work for

legal nonprofits that provide pro bono legal services; therefore, they would

not have received more compensation from another client since clients are

not required to pay. Though not explained in the Plaintiff’s motion, the Court

will take judicial notice that non-profit organizations that pursue civil rights

actions are funded in part by the fees awarded when they are successful in

such pursuits. While the prosecution of this case may have drawn counsel’s

time and resources away from other such potentially successful

remunerative claims, such is not clear on this record. As such, the Court

finds that this factor does not warrant any fee greater than that calculated

based upon the lodestar method.




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      E.    Customary Fee for Similar Work

      As the Fourth Circuit has recognized:

            Determination of the hourly rate will generally be the
            critical inquiry in setting the reasonable fee, and the
            burden rests with the fee applicant to establish the
            reasonableness of a requested rate. In addition to the
            attorney’s own affidavits, the fee applicant must
            produce satisfactory specific evidence of the
            prevailing market rates in the relevant community for
            the type of work for which he seeks an award.
            Although the determination of a market rate in the
            legal profession is inherently problematic, as wide
            variations in skill and reputation render the usual
            laws of supply and demand largely inapplicable, the
            Court has nonetheless emphasized that market rate
            should guide the fee inquiry.

Robinson v. Equifax Info. Svcs., LLC, 560 F.3d 235, 244 (4th Cir. 2009)

(citing Plyler v. Evatt, 902 F.2d 273, 277 (4th Cir. 1990)). In addition to

consideration of specific evidence regarding the prevailing market rate, the

Court may rely upon its own knowledge and experience of the relevant

market in determining a reasonable rate. See Rum Creek Coal, 31 F.3d at

175 (“The relevant market for determining the prevailing rate is ordinarily the

community in which the court where the action is prosecuted sits.”).

      Here, Mr. Kellum and Mr. Brooks seek to be awarded fees based on

the hourly rates of $425.00 and $350.00, respectively. In support of their

request, counsel have submitted a declaration from attorney David G.

Redding, who is experienced in litigating complex civil cases and cases

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involving First Amendment rights in western North Carolina. [Doc. 30-5 at ¶

5].     Mr. Redding opines that the hourly rates sought by the Plaintiff’s

attorneys are consistent with those within this judicial district for similar

services offered by lawyers with comparable experience and levels of

expertise. [Id. at ¶¶ 8-11]. The Court particularly notes that Mr. Kellum’s 36

years of experience in the practice of law, the vast majority of which involved

litigating cases in the very specialized field at issue in this case, warrant the

higher rate that he claims.        Based on the Court’s own experience and

familiarity with the hourly rates charged in western North Carolina, the Court

finds that the rates of $425.00 and $350.00 per hour for the work performed

by these attorneys are reasonable and in keeping with the prevailing rates in

this particular market. Accordingly, Mr. Kellum’s hours will be calculated at

the rate of $425.00 per hour, while Mr. Brooks’ hours will be calculated at the

rate of $350.00 per hour.

         F.    Attorneys’ Expectation at Outset of Litigation

         At the outset of litigation, the Plaintiff’s attorneys agreed to take this

case despite their awareness of the possibility that the Plaintiff would almost

certainly not receive a monetary award, even if he prevailed, as the relief that

he sought was equitable in nature. As such, counsel’s only avenue of

compensation was pursuant to § 1988, which was uncertain and limited in



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scope—unlike a percentage contingency fee as might be available in a case

where monetary damages are potentially available.          As such, counsel’s

expectations at the outset of the litigation would have been clearly

understood and well-defined by the statutory parameters of the claim.

      G.    Time Limitations

      The civil rights claims brought by the Plaintiff were ongoing; therefore,

his attorneys sought to file his Complaint as quickly as possible and to seek

a preliminary injunction, requiring them to work quickly. [Doc. 31 at 11].

Aside from otherwise expected deadlines of litigation, there were no other

unusual time limitations imposed by Plaintiff Hebb or this litigation that would

merit any impact on the requested award. Therefore, this factor weighs

modestly in favor of the requested award.

      H.    Experience, Reputation, and Ability of Counsel

      Both attorneys involved in this matter are experienced lawyers. As

further explained in subpart E supra, the Court concludes that the requested

hourly rates of $425.00 and $350.00 for the work performed by these

attorneys are reasonable.

      I.    Undesirability of the Case in the Legal Community

      Complex § 1983 actions are admittedly difficult to litigate.          The

complexity of this action was compounded by the factual and legal issues



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presented in this particular case. Additionally, as mentioned above, this case

had little chance for a substantial award of monetary damages, further

disincentivizing attorneys from pursuing it. In light of these issues, the Court

concludes that this case was generally undesirable in the legal community,

a factor which weighs in favor of a substantial fee.

      J.    Relationship between the Attorneys and Clients

      Aside from the customary relationship between Plaintiff Hebb and his

legal counsel, there is not a unique situation or relationship in this case that

weighs in favor of or against the requested fee award.

      K.    Fee Awards in Similar Cases

      The Plaintiff cites one civil rights case in which the plaintiff prevailed

but received only nominal damages and the court subsequently awarded

attorneys’ fees. [See Doc. 31 at 14 (citing Price v. City of Fayetteville, N.C.,

No. 5:13-CV-150-FL, 2015 WL 1222168, at *10 (E.D.N.C. Mar. 17, 2015))

(reducing requested award of $227,392.43 and awarding $156,379.60 in

attorneys’ fees; plaintiff previously awarded nominal damages and injunctive

relief)]. The record before the Court herein is insufficient to establish what

may be a customary award of fees in similar cases and thus weighs neither

in favor of nor against awarding the full of amount of fees incurred.




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      L.    Amount Involved and Results Obtained

      As noted by the Supreme Court, “‘the most critical factor’ in

determining the reasonableness of a fee award ‘is the degree of success

obtained.’” Farrar v. Hobby, 506 U.S. 103, 114 (1992) (quoting Hensley, 461

U.S. at 436). Here, Plaintiff Hebb prevailed on all of his claims, albeit only

for injunctive relief and nominal damages. Thus, this factor weighs in favor

of awarding the entire lodestar amount, as adjusted supra.

      M.    Costs and Expenses

      In addition to an award of fees, the Plaintiff seeks recovery of the

following expenses pursuant to § 1988:

            Pro Hac Vice Fee                           288.00

            Travel for Mediation:
                 Food/Drink                           117.12
                 Flight, Hotel, Rental
                   Car, Parking                     1,298.26

            Mediation Expense                       2,913.90

            Westlaw                                    812.00

            Copies (2,072 pages@ $0.25)                518.00

            TOTAL:                                 $5,947.28

[Doc. 30-2 at 24].

      “A prevailing plaintiff in a civil rights action is entitled, under § 1988, to

recover those reasonable out-of-pocket expenses incurred by the attorney

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which are normally charged to a fee-paying client, in the course of providing

legal services.” Spell, 852 F.2d at 771 (citation and internal quotation marks

omitted). The Fourth Circuit has held that such out-of-pocket expenses may

include “supplemental secretarial costs, copying, telephone costs and

necessary travel.” Wheeler v. Durham Bd. of Educ., 585 F.2d 618, 623 (4th

Cir. 1978) (footnote omitted); accord Sussman v. Patterson, 108 F.3d 1206,

1213 (10th Cir. 1997) (allowing items such as “photocopying, mileage, meals

and postage” as compensable expenses under § 1988).

     “An expense award, like an attorney’s fee, must adequately

compensate counsel without resulting in a windfall.” Daly, 790 F.2d at 1084

n.18. “Prevailing attorneys must exercise ‘billing judgment,’ for expenses

‘not properly billed to one’s client also are not properly billed to one’s

adversary pursuant to statutory authority.” Id. (quoting Hensley, 461 U.S. at

434) (emphasis in original).

     The Court will not award expenses incurred in seeking pro hac vice

admission of counsel or conducting computer assisted legal research, as

such overhead expenses are incurred by the attorney and are not properly

chargeable to the client. Cf. Schmitz-Werke GmbH %8f Co. v. Rockland

Indus., Inc., 271 F.Supp.2d 734, 735 (D. MD. 2003) (holding that pro hac

vice fees are not recoverable under § 1920); BAM Cap., LLC v. Houser



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Transp., Inc., No. 519CV00105KDBDCK, 2020 WL 97459, at *5 (W.D.N.C.

Jan. 8, 2020) (declining to award computer research costs as either costs or

expenses). Accordingly, the Court will award the Plaintiff a total of $4,847.28

in expenses under 42 U.S.C. § 1988.

III.      CONCLUSION

          In total, the Plaintiff’s attorneys claimed 314.7 hours to be

compensated at the rate of $425.00 for Attorney Kellum and 15 hours to be

compensated at the rate of $350.00 per hour for Attorney Brooks. While the

Court concludes that the hourly rates requested are reasonable, the total

number of hours should be reduced in order to account for Mr. Kellum’s

vague billing, the excessive time spent related to the investigation and

preparation of the Complaint, and the time spent preparing the present

Motion. Multiplying those reduced hours by the reasonable hourly rate

determined by the Court results in the following lodestar amount:

          Attorney        Hours      Hourly Rate        Fees Awarded

          Kellum          255.7      425.00             $108,672.50

          Brooks           14.0      350.00                 4,900.00

          TOTAL                                         $113,572.50




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For the reasons stated herein, the Court finds and concludes that this

lodestar amount constitutes a reasonable attorneys’ fee in this matter. The

Court also awards the Plaintiff a total of $4,847.28 in expenses, for a total

award of $118,419.78 under 42 U.S.C. § 1988.



                                      ORDER

     IT IS, THEREFORE, ORDERED that Plaintiff Hebb’s Application to

Award Attorneys’ Fees [Doc. 30] is GRANTED, and Plaintiff Hebb is hereby

awarded $118,419.78 in attorneys’ fees and expenses pursuant to 42 U.S.C.

§ 1988.

     The Clerk of Court is respectfully instructed to prepare an Amended

Judgment in accordance with this Order.

     IT IS SO ORDERED.
                      Signed: January 17, 2025




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